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 1   RICHARD S.J. HUNG (CA SBN 197425)               MICHAEL J. BETTINGER (CA SBN 122196)
     rhung@mofo.com                                  mbettinger@sidley.com
 2   JONATHAN M. MORRIS (CA SBN 356152)              SIDLEY AUSTIN LLP
     jonathanmorris@mofo.com                         555 California Street, Suite 2000
 3   HOLLY M. PETERSEN (CA SBN 351588)               San Francisco, California 94104
     hollypetersen@mofo.com                          Telephone: (415) 772-1200
 4   MORRISON & FOERSTER LLP                         Facsimile: (415) 772-7400
     425 Market Street
 5   San Francisco, California 94105-2482            SAMUEL N. TIU (CA SBN 216291)
     Telephone:    (415) 268-7000                    stiu@sidley.com
 6   Facsimile:    (415) 268-7522                    BROOKE S. BÖLL (CA SBN 318372)
                                                     brooke.boll@sidley.com
 7   BITA RAHEBI (CA SBN 209351)                     MARISSA X. HERNANDEZ (CA SBN 341449)
     brahebi@mofo.com                                marissa.hernandez@sidley.com
 8   RYAN J. MALLOY (CA SBN 253512)                  SIDLEY AUSTIN LLP
     rmalloy@mofo.com                                350 South Grand Avenue
 9   MORRISON & FOERSTER LLP                         Los Angeles, California 90071
     707 Wilshire Boulevard                          Telephone: (213) 896-6095
10   Los Angeles, California 90017                   Facsimile: (213) 896-6600
     Telephone:    (213) 892-5200
11   Facsimile:    (213) 892-5454                    Attorneys for Defendants
                                                     MOTIFF PTE. LTD., YUANFUDAO
12   Attorneys for Plaintiff                         HK LTD., and KANYUN HOLDING
     FIGMA, INC.                                     GROUP CO. LTD.
13

14                                   UNITED STATES DISTRICT COURT

15                              NORTHERN DISTRICT OF CALIFORNIA

16                                      SAN FRANCISCO DIVISION

17

18   FIGMA, INC.,                                     Case No. 3:24-cv-06507-JD

19                      Plaintiff,                    [PROPOSED]
                                                      JOINT STIPULATED STAY
20          v.

21   MOTIFF PTE. LTD., YUANFUDAO HK                    Courtroom: 11, 19th Floor
     LTD., and KANYUN HOLDINGS GROUP                   Judge: Hon. James Donato
22   CO. LTD.,
                                                      Action Filed: September 16, 2024
23                      Defendants.                   Trial Date: August 18, 2025

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     [PROPOSED] JOINT STIPULATED STAY
     CASE NO. 3:24-CV-06507-JD
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 1            WHEREAS the parties are actively discussing a possible settlement of this action, and

 2            WHEREAS, the parties expect to finalize a settlement within two weeks,

 3            NOW THEREFORE, THE PARTIES STIPULATE AND AGREE AS FOLLOWS,

 4   subject to the Court’s agreement:

 5            1) The August 18, 2025 trial date is vacated;

 6            2) The case is stayed for thirty (30) days;

 7            3) If the parties have not resolved the matter within thirty (30) days, the parties will

 8               provide a status report and request a status conference with the Court.

 9            IT IS SO STIPULATED.

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11   Dated: July 12, 2025                                    MORRISON & FOERSTER LLP

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13                                                           By: /s/ Richard S.J. Hung
                                                                Richard S.J. Hung
14
                                                                Attorneys for Plaintiff
15                                                              FIGMA, INC.
16
     Dated: July 12, 2025                                    SIDLEY & AUSTIN LLP
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18
                                                             By: /s/ Michael J. Bettinger
19                                                              Michael J. Bettinger
20                                                              Attorneys for Defendants
                                                                MOTIFF PTE. LTD.,
21                                                              YUANFUDAO HK LTD., and
                                                                KANYUN HOLDINGS GRP. CO. LTD
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23            PURSUANT TO STIPULATION, IT IS SO ORDERED.

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25   Dated:
                                                                    HON. JAMES DONATO
26                                                                  United States District Court Judge
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     [PROPOSED] JOINT STIPULATED STAY
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     CASE NO. 3:24-CV-06507-JD
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 1                             ATTESATION OF E-FILED SIGNATURE

 2          I, Richard S.J. Hung, am the ECF User whose ID and password are being used to file this

 3   [Proposed] Joint Stipulated Stay. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that

 4   Michael J. Bettinger has concurred in this filing.

 5

 6   Dated: July 12, 2025                                      /s/ Richard S.J. Hung
                                                               Richard S.J. Hung
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     [PROPOSED] JOINT STIPULATED STAY
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     CASE NO. 3:24-CV-06507-JD
